Case
 Case6:22-cv-02299-PGB-EJK
      6:22-cv-02299-PGB-EJK Document
                             Document35-12
                                      2-14 Filed 09/01/23
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                   Exhibit L: Defendant CCSE Requirements                  001
Case
 Case6:22-cv-02299-PGB-EJK
      6:22-cv-02299-PGB-EJK Document
                             Document35-12
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                   Exhibit L: Defendant CCSE Requirements                  002
